

People v Everson (2018 NY Slip Op 03077)





People v Everson


2018 NY Slip Op 03077


Decided on April 27, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 27, 2018

PRESENT: WHALEN, P.J., SMITH, CARNI, CURRAN, AND WINSLOW, JJ. (Filed Apr. 27, 2018.) 


MOTION NO. (1205/17) KA 11-00995.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vSHAWNDELL EVERSON, DEFENDANT-APPELLANT. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Motion for reargument denied.








